59 F.3d 167NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Harvey P. SHORT, Petitioner--Appellant,v.William L. SMITH, Warden;  Attorney General of the State ofMaryland, Respondents--Appellees.
    No. 95-6385.
    United States Court of Appeals, Fourth Circuit.
    Submitted:  May 18, 1995.Decided:  June 27, 1995.
    
      Harvey P. Short, Appellant Pro Se.  John Joseph Curran, Jr., Attorney General, Ann Norman Bosse, Michelle Nicol Levister, OFFICE OF THE ATTORNEY GENERAL OF MARYLAND, Baltimore, MD, for Appellees.
      Before NIEMEYER and WILLIAMS, Circuit Judges, and BUTZNER, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant seeks to appeal the district court's order denying relief on his 28 U.S.C. Sec. 2254 (1988) petition.  We have reviewed the record and the district court's opinion, and find no reversible error.  Accordingly, we deny a certificate of probable cause to appeal and dismiss the appeal on the reasoning of the district court.  Short v. Smith, No. CA-94-2668-H (D. Md. Feb. 9, 1995).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      DISMISSED.
    
    